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                                         Jail Call Transcript
Date & Time:             April 28, 2019 at 6:33 p.m.
Inmate:                  Dante Bailey (using inmate account of Marquise McCants) (CDF)
Dialed #:                (240) 553-4046 (Altoneyo Edges, a/k/a Chicken Box)
Other Participants: Chiquetta Heath, a/k/a “Bandi”; “Pick,” and “Kev”


@ 1:11
Bailey:         Hello.
Edges:          His mother say she ain’t coming all the way over here.
Bailey:         Alright. That’s even better for me.
Edges:          She only has a 10-piece anyway.
Bailey:         I was trying to get as many as possible cause this the last, know what I mean, bop
                bop bop. I don’t know why [unintelligible] 20.
Edges:          Who’s got 20? I already had 20, didn’t I?
Bailey:         Yeah, but I’m talking about I don’t know why you didn’t get a 50-piece.
Edges:          He only had that, though!


@ 7:35
Edges:          I’m about to call Badgirl.
Bailey:         Alright. For what? [pause]
Heath:          Hello?
Edges:          What’s Lady G’s number?
Heath:          I texted it to you already, dummy!
Edges:          No you didn’t.
Heath:          I just text it to you in a text message, yes I did.
Edges:          Oh. This Gutta right here.
Bailey:         Hey baby.
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@ 11:08
Bailey:         What’s goin’ on though?
Heath:          Well some bitch—what’s her name?
Edges:          [unintelligible]
Heath:          Not Raze, Flame. Some bitch named Flame was mad that I had Tracy
                [unintelligible] at my house, talkin’ about [unintelligible] and all this other shit,
                and I shouldn’t be rolling with her. And then her and Kev, they like are
                [unintelligible] or something ‘cause they were [unintelligible].
Bailey:         I can’t hear you, what you say?
Heath:          I didn’t know that she was looking for me. Like, I didn’t know the bitch wanted
                smoke, like she threatening my kids and everything, and I’m just like bitch who
                are you? I don’t even know you.
Bailey:         So what I gotta holler at Kayo for?
Heath:          ‘Cause he’ll tell you more about who [unintelligible] He was like niggas really
                mad, like [unintelligible]. And he just told me that recently. The politics that you
                was talking about is about me. Get what I’m saying, that you telling me to shut up
                about, that I can’t because it’s about me. And then you supposed to be like with
                me, I don’t get that. Niggas is telling you half-assed stories. I don’t like that shit.
Bailey:         Hey listen, I don’t know what you talkin’ about.
Heath:          The simple fact that it’s not me out here tweakin and geekin, these niggas is.
Bailey:         What niggas yo?
Heath:          The nigga with all the missing teeth in his mouth [unintelligible].
Edges:          [laughing]
Heath:          It ain’t fucking funny, Box, ‘cause that’s your man.
Edges:          No [unintelligible]
Heath:          Didn’t he say point blank [unintelligible]?
Edges:          I said he was out of order. I said he was out of order.
Heath:          [unintelligible] That was totally out of order, that was just disrespectful!
Bailey:         Alright now, what happened?
Heath:          That was just, I couldn’t imagine somebody on the phone talking about one of my
                brothers like that.
Bailey:         Alright what you talking about?
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Heath:          Like I don’t care how [unintelligible]
Edges:          He still upset ‘cause you called him a hot nigga.
Heath:          Listen, you know why I called him a hot nigga, ‘cause he was acting like one! I
                was ready to pat his ass down to see if he was wearing a wire! Fuck you talking
                about.
Bailey:         What you all talking about though, yo? What you all be doing that in public?
Heath:          Alright so listen. Fuck no, hell no. No, no, listen. Hell no. What’s gonna happen
                to him is gonna definitely probably be in… Listen, don’t you know the nigga
                who got his teeth knocked out of his head?
Edges:          They didn’t get knocked out.
Heath:          They got knocked the fuck out, trust me, I know.
Edges:          [unintelligible]
Heath:          Anyway, you remember that nigga, right?
Bailey:         Yeah.
Heath:          So the girl supposed to have been on my ass. He knew about it, and he said fuck
                me, and he said he knew about the bitch tryin’ to do something to me, and he
                rockin’ with shorty.
Bailey:         Damn. Oh yeah?
Heath:          Yeah. I swear on my damn life, I swear to god, yo was on the phone excited. Like,
                man fuck her. That bitch on her ass. She know what I know, she better run. Like
                he was [unintelligible]. Am I lying, Chicken Box?
Edges:          No, you ain’t lying.
Bailey:         So why you all ain’t take care of that?
Edges:          I got on him though.
Bailey:         You got on him?
Heath:          Listen, this is what I’m saying. [unintelligible] They was just with him last night.
Bailey:         Alright, I’m a take care of it. Listen, alright, stop talking. It’s alright, don’t worry
                about it. Where Pick at?


@ 19:15
Bailey:         Chick
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Edges:          Yeah
Heath:          Let me tell you [unintelligible]
Bailey:         Naw, that even important. The important part is that a nigga that supposed to be—
                lemme take care of this, yo. Lemme speak to Pick, yo.


@ 20:20
Bailey:         Alright we ain’t gonna talk about—alright, what I need you to take care of right
                now is this situation with the bro.
Pick:           What bro?
Bailey:         Kev. Call Kev right now, uh, Box.
Edges:          Alright.
Bailey:         You need to get out the room with your girl.
Pick:           I ain’t in the room.
Bailey:         Alright.
Kev:            Hello?
Bailey:         I need you to give me your understanding of the situation between you and your
                your sister. Where you at first of all?
Kev:            You saying me and my sister? I’m on the Avenue.
Bailey:         What you in the house?
Kev:            Naw I’m on my way to the house.
Bailey:         I need to holler about you about a situation. I need you to give me a
                understanding of the situation between you and Bandi.
Kev:            It ain’t really no situation. She called me something I ain’t never been called
                before.
Bailey:         I ain’t talkin about that. I ain’t talkin about that. I’m talking about the situation
                with the broad. There’s some broad that’s supposed to be looking for her, and you
                rockin’ with the broad. Is that true?
Kev:            You talkin’ about the [unintelligible]?
Edges:          Naw, the bitch uh—
Bailey:         No, some female.
Edges:          The bitch Flame.
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Kev:            Yeah, yeah, that’s who, yeah. I don’t know nothing about directly what
                happened. You talking about somebody, a female?
Bailey:         No I’m talking about, is it true that you said you rockin’ with the female against
                your sister?
Kev;            No, no, hell no. No, no, no, no, no, no. That’s not true. I can’t stand her fuckin’
                guts, but I ain’t never riding with the other side. Don’t even—come on, bro.
                Even though I get in my feelings sometimes. But no, hell no. Come on, bro.
Bailey:         Alright.
Kev:            I know what you saying, but hell no. No.
Bailey:         Alright.
Kev:            That ain’t gonna never happen. I ain’t gonna never put my—can’t stand her but
                hell no. That’d be—
Bailey:         Alright bro. Heartbeat.
Kev:            Alright, Doubletime. [hangs up]
Bailey:         Hey, Box. Alright, what you was saying? What you say, when you was just
                agreeing with Badgirl, you was just agreeing with her that he did say he was
                rocking with the bitch?
Edges:          I ain’t heard rocking, he say yeah I fuck with her, she say she gonna fuck Bandi
                up. He ain’t say like he was going to bank her or nothing.
Bailey:         I ain’t said he say he was gonna bank her. But he say he fuck with a bitch who
                say she gonna beat up his sister?
Edges:          Yeah, he said that.
Bailey:         And he was, and he would allow that?
Pick:           Yeah.
Edges:          Yeah. Pick was on the phone too.
Pick:           Yeah he said it like [unintelligible].
Bailey:         I’m asking you, Box.
Edges:          I said yeah. I mean, yeah.
Bailey:         So you saying that he said that he was rocking with a broad that wanted to fight
                Bandi, and like he fucked with her?
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Edges:         No he said, he be rocking, he fucked with, he be rocking with her, and she looking
               for Bandi, and he don’t give a fuck, because she called him a rat, so he say he
               don’t give a fuck.
